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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       7                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.    Debtor's name                    Big's Sausage LLC

2.    All other names debtor used      dba Texas Sausage Company; dba Big's Meat Market
      in the last 8 years

      Include any assumed names,
      trade names and doing
      business as names


3.    Debtor's federal Employer
      Identification Number (EIN)          8      2      –      2      6        5    9         1   5     8

4.    Debtor's address                 Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       2581 South Loop 4 #424                                          PO Box 1077
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Buda                                TX       78610              Buda                          TX      78610
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Hays                                                            from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.    Debtor's website (URL)           www.bigsmeatmarket.com and www.texashotsausage.com

6.    Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Big's Sausage LLC                                                                  Case number (if known)

7.    Describe debtor's business        A. Check one:

                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                        B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in
                                             15 U.S.C. § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                        C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes




8.    Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
      A debtor who is a "small               Chapter 11. Check all that apply:
      business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
      of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
      the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
      debtor") must check the second
      sub-box.                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                             Chapter 12




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
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Debtor Big's Sausage LLC                                                                    Case number (if known)

9.    Were prior bankruptcy                  No
      cases filed by or against
      the debtor within the last 8           Yes. District                                        When                    Case number
      years?                                                                                             MM / DD / YYYY
                                                  District                                        When                    Case number
      If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
      separate list.
                                                  District                                        When                    Case number
                                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                    District                                                    When
      List all cases. If more than 1,                                                                                          MM / DD / YYYY
      attach a separate list.                       Case number, if known


                                                    Debtor                                                      Relationship

                                                    District                                                    When
                                                                                                                               MM / DD / YYYY
                                                    Case number, if known


11. Why is the case filed in            Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                             days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                             any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                             district.


12. Does the debtor own or                   No
    have possession of any                   Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                     needed.
    property that needs
                                                  Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                       related assets or other options).

                                                       Other


                                                  Where is the property?        2581 South Loop #424
                                                                                Number       Street




                                                                                Buda                                      TX           78610
                                                                                City                                      State        ZIP Code

                                                  Is the property insured?

                                                       No
                                                       Yes. Insurance agency Sentry Insurance

                                                                Contact name           Becky Paulson

                                                                Phone                  715-346-9804




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
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Debtor Big's Sausage LLC                                                                 Case number (if known)


              Statistical and adminstrative information
13. Debtor's estimation of             Check one:
    available funds                        Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           creditors.

14. Estimated number of                     1-49                               1,000-5,000                          25,001-50,000
    creditors                               50-99                              5,001-10,000                         50,001-100,000
                                            100-199                            10,001-25,000                        More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 07/21/2023
                                                      MM / DD / YYYY



                                          X /s/ Scott Alan Fiebig
                                              Signature of authorized representative of debtor
                                              Scott Alan Fiebig
                                              Printed name
                                              Manager/Owner
                                              Title




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Debtor Big's Sausage LLC                                                Case number (if known)

18. Signature of attorney   X /s/ Elizabeth Hickson                                         Date   07/21/2023
                               Signature of attorney for debtor                                    MM / DD / YYYY

                               Elizabeth Hickson
                               Printed name
                               Hickson Law P.C.
                               Firm name
                               4833 Spicewood Springs Rd
                               Number          Street



                               Austin                                               TX              78759
                               City                                                 State           ZIP Code


                               (512) 346-8597                                       lizhickson@hicksonlawpc.com
                               Contact phone                                        Email address
                               09586000                                             TX
                               Bar number                                           State




Official Form 201           Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 5
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 Fill in this information to identify the case
 Debtor name          Big's Sausage LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Checking account w/Prosperity Bank                            Checking account                    9   8   7     8                   $1,550.88
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            $1,550.88


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor         Big's Sausage LLC                                                            Case number (if known)
               Name

                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

7.1.    Deposit with VS, LP                                                                                                                 $12,075.00
8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

9.     Total of Part 2.
       Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                            $12,075.00


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes. Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
11. Accounts receivable

11a. 90 days old or less:                                    –                                        = .......................
                             face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                                       –                                        = .......................
                             face amount                         doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                  $0.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes. Fill in the information below.
                                                                                             Valuation method                     Current value of
                                                                                             used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

          Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                  $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes. Fill in the information below.




Official Form 206A/B                             Schedule A/B: Assets -- Real and Personal Property                                                   page 2
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Debtor        Big's Sausage LLC                                                        Case number (if known)
              Name

     General description                         Date of the       Net book value of    Valuation method          Current value of
                                                 last physical     debtor's interest    used for current value    debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

     Meats                                                                              Cost                                 $3,006.35
20. Work in progress

21. Finished goods, including goods held for resale

     Sausages                                                                           Cost                                 $2,744.75
     Spices                                                                             Cost                                 $2,195.03
22. Other inventory or supplies

     Aprons/Bags/Sawdust/Seasoning
     s                                                                                  Cost                                 $7,995.73
     Boxes and liners                                                                   Cost                                   $783.40
     Casings                                                                            Cost                                 $1,557.50
23. Total of Part 5
                                                                                                                            $18,282.76
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method          Current value of
                                                                   debtor's interest    used for current value    debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                  $0.00

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
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Debtor       Big's Sausage LLC                                                          Case number (if known)
             Name

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Dell Optiflex 7050 - $50.00
     Computer monitor - $20.00
     Router - $10.00
     Dell GE laptop - $50.00
     POS System and scales - $10,000.00
     DellOptifles 5090 and software - $500.00
     Opt 7020 Computer and monitor - $200.00                                                                                $10,830.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                            $10,830.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 4
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Debtor       Big's Sausage LLC                                                        Case number (if known)
             Name

     General description                                          Net book value of    Valuation method         Current value of
     Include year, make, model, and identification numbers        debtor's interest    used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. 2015 Chevrolet Tahoe - 120000 miles                                                                                 $22,000.00
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

     Biro 22 Band saw - $2000.00
     Biro 52 Mixer Grinder - $4000.00
     Biro 32 Mixer grinder - $4000.00
     Biro 56 Grinder - $2000.00
     Vemeg Slinker Stuffer - $12000.00
     Zesco Water Stuffer - $500.00
     Promac VAc Machine - $500.00
     3-Digi DS Scales - $300.00
     Digi DS Scale - $30.00
     Yamoto DP 6200 Scale - $100.00
     5 StainlessSteel Tables - $500.00
     15 Dunnage Racks - $200.00
     20+ Assorted Meat Lugs - $25.00
     4 Sausage Trucks - $100.00
     100+ Smoke Sticks - $50.00
     Assorted Hand tools - $50.00
     Office furniture - $100.00
     3 Stainless Steel Sinks - $100.00
     Power washer - $50.00
     Easy Slider patty maker/molds/ plates - $300.00
     3 oz. patty plate - $20.00
     Pedal Switch and cleaning plates - $20.00
     Various Stuffer attachments - $300.00
     Therma Data Wifi TD2TCw/logger/probes- $100.00
     Thermapen Mk4 - $25.00
     Custom mounted Smoker Trailer - $2500.00
     Wire probes and Thermo couples - $25.00
     Condensor & Evaporator fro Raw Cooler -
     $3000.00
     Stuffing horn for mixer grinder - $25.00
     Meat Slicer - $200.00
     Grinder and Bandsaw - $3000.00
     Mixer - $25.00
     Talsa 50# Stuffer - $2000.00
     10 Tables - $375.00
     Hnad sink - $20.00
     Easy Slider w/molds/clamps - $500.00
     4 OmCam Deli cases - $10000.00
     2 Shelving kits -$100.00
     Sealing machine - $100.00                                                                                            $49,240.00
     One Truck Stainless Steel Smokehouse                                                                                 $40,000.00
51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                        $111,240.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes



Official Form 206A/B                         Schedule A/B: Assets -- Real and Personal Property                                     page 5
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Debtor       Big's Sausage LLC                                                           Case number (if known)
             Name

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
                                                                                                                                          $0.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

      Miscellaneous approved labeled sausage
      recipes                                                                                                                        Unknown
61. Internet domain names and websites

      www.texashotsausage.com
      www.bigsmeatmarket.com                                                                                                         Unknown
62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                          $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 6
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Debtor       Big's Sausage LLC                                                           Case number (if known)
             Name

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                  Current value of
                                                                                                                  debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

     Possible claim against contractor fpr poor worksmanship, delays and misrepresentation in
     installation of the refrigeration rooms and equipment                                                                $356,060.00
     Nature of claim             TDPA and misrepresentation
     Amount requested            $356,060.00

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
                                                                                                                          $356,060.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                    page 7
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Debtor           Big's Sausage LLC                                                                                   Case number (if known)
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                              $1,550.88
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                           $12,075.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                         $18,282.76

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                               $10,830.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                    $111,240.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +        $356,060.00

91. Total. Add lines 80 through 90 for each column.                        91a.            $510,038.64           +     91b.                  $0.00


                                                                                                                                                                   $510,038.64
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                         page 8
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 Fill in this information to identify the case:
 Debtor name          Big's Sausage LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Robert and Jan Fiebig                            subject to a lien                                     $33,000.00              $22,000.00

          Creditor's mailing address                       2015 TChevrolet Tahoe
          PO Box 1902                                      Describe the lien
                                                           PMSI / Agreement
                                                           Is the creditor an insider or related party?
          Gonzales                   TX     78629               No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred          7/27/2021            No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                              $1,085,382.00


Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
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Debtor       Big's Sausage LLC                                                               Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         Robert and Jan Fiebig                               subject to a lien                                    $520,773.00                    $0.00

         Creditor's mailing address                          Equipment/inventory
         PO Box 1902                                         Describe the lien
                                                             Line of Credit / Agreement
                                                             Is the creditor an insider or related party?
         Gonzales                   TX       78629                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          5/22-6/14/23            No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.3     Creditor's name                                     Describe debtor's property that is
         U.S. Small Business Admin.                          subject to a lien                                    $526,809.00                    $0.00

         Creditor's mailing address                          Tangible and intangible proeprty/equipment,invento
         4109 3rd St. SW                                     Describe the lien
         Washington D.C.                                     EIDL loan
                                                             Is the creditor an insider or related party?
                                                                  No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          10/18/2021              No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          7    9      1   0   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
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Debtor       Big's Sausage LLC                                                               Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.4     Creditor's name                                     Describe debtor's property that is
         UltraSource LLC                                     subject to a lien                                       $4,800.00             $40,000.00

         Creditor's mailing address                          One Truck Stainless Steel Smokehouse
         1414 West 29th Street                               Describe the lien
                                                             PMSI
                                                             Is the creditor an insider or related party?
         Kansas City                MO     64108-3604             No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred       8/2022                     No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                        4    5    8     2     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
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Debtor       Big's Sausage LLC                                                         Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.

         Name and address                                                             On which line in Part 1        Last 4 digits of
                                                                                      did you enter the              account number
                                                                                      related creditor?              for this entity

         U. S. Attorney General                                                        Line    2.3
         Main Justice Bldg
         10th & Constitution Avenue


         Washington                                   DC       20530


         U. S. Attorney/Civil Process Clerk                                            Line    2.3
         601 N. W. Loop 410, Suite 600



         San Antonio                                  TX       78216-5597




Official Form 206D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4
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 Fill in this information to identify the case:
 Debtor              Big's Sausage LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the               $1,854.58           $1,854.58
                                                                claim is: Check all that apply.
State Comptrollers Office
                                                                    Contingent
PO Box 149355                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                TX      78714-9355        Sales Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
1/23-7/23
                                                                     No
Last 4 digits of account                                             Yes
number       3 6 3           8
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor        Big's Sausage LLC                                                        Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $1,171.09
                                                                   Check all that apply.
ABC Home & Commercial                                                  Contingent
9475 E. Highway 290                                                    Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Austin                                   TX        78724-2303      Pest control

Date or dates debt was incurred         11/22-3/23                 Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          4     5    6   1               Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    Unknown
                                                                   Check all that apply.
ACE Mart Restaurant Supply                                             Contingent
PO Box 974297                                                          Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Dallas                                   TX        75397-4297      Trade creditor

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          6     7    0   7               Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $356.50
                                                                   Check all that apply.
Advannova, Inc                                                         Contingent
4500 Main Avenue                                                       Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Groves                                   TX        77619-4712      Pos System fees

Date or dates debt was incurred         5/23                       Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          t     w    y   N               Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    Unknown
                                                                   Check all that apply.
Alamo Food Equipment                                                   Contingent
6600 Guada Coma Drive                                                  Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Schertz                                  TX        78154           Trade creditor

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                        page 2
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Alsco                                                               Contingent
449 Vista Ridge Drive                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Kyle                                   TX       78640           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     8    6   7               Yes


   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Ascension Architecture                                              Contingent
PO Box 340781                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78734           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
AT & T                                                              Contingent
PO Box 5014                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Carol Stream                           IL       60197-5014      Telephone services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     3    7   1               Yes


   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
ATX Restaurant Supply                                               Contingent
40113 Industrial Park Circle                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Georgetwon                             TX       78626           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Austin Budget Signs                                                 Contingent
3904 Warehouse Row                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78704           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $760.46
                                                                Check all that apply.
Austin Industrial Refrigeration                                     Contingent
13200 Pond Springs Road #D-30                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78729           Cooling system repairs

Date or dates debt was incurred      6/2022                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     7    8   6               Yes


  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Big Cock Ranch                                                      Contingent
10921 E. Crystal Falls Parkway                                      Unliquidated
                                                                    Disputed
#1703
                                                                Basis for the claim:
Leander                                TX       78641           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Bruce Wilson                                                        Contingent
7905 Pitter Pat Lane                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78736           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Buda South 35 Warehouse LLC                                         Contingent
317 Grace Lane #24D                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78746           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Bunzl                                                               Contingent
12240 Collections Center Drive                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60693           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     4    8   4               Yes


  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Centerpoint Energy                                                  Contingent
PO Box 4981                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77210-4981      Utility expenses

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       8     2    2   7               Yes


  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Central Texas Refuse                                                Contingent
PO Box 18685                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78760-8685      garbage services

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     0    0   7               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.17     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,185.11
                                                                Check all that apply.
Charter Communications                                              Contingent
PO Box 60074                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
City of Industry                       CA       91716-0074      Phone service

Date or dates debt was incurred      2023                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       5     1    2   6               Yes


  3.18     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $71,681.73
                                                                Check all that apply.
Chase                                                               Contingent
PO Box 6294                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Carol Stream                           IL       60197-6294      Credit Card Purchases

Date or dates debt was incurred      various                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       7     9    6   3               Yes


  3.19     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
City of Buda Utility                                                Contingent
405 E. Loop Street Bldg. 100                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Buda                                   TX       78610           Utilities

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       7     5    0   2               Yes


  3.20     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
CLIFCO Spice Sales Inc.                                             Contingent
PO Box 1046                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Burleson                               TX       76097           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 6
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,586.24
                                                                Check all that apply.
Colorado Boxed Beef Co.                                             Contingent
PO Box 95395                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Grapevine                              TX       76099-9734      Trade creditor

Date or dates debt was incurred      5/2023                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       7     6    2   2               Yes


  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
CondorWeb                                                           Contingent
6651 Ruxton Lane                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78749           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $89,015.00
                                                                Check all that apply.
D Commerical Refrigeration, Inc.                                    Contingent
PO Box 7124                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fort Worth                             TX       76111           Contracting fees

Date or dates debt was incurred      8-9/2022                   Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       2     1    5   2               Yes


  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Electronic Payments Inc.                                            Contingent
1161 Scott Avenue                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Calverton                              NY       11933           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       2     2    5   9               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 7
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.25     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Express Meat Service                                                Contingent
PO Box 144103                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78714           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.26     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Extreme Texas Air                                                   Contingent
PO Box 2142                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Kyle                                   TX       78640           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.27     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Federal Express                                                     Contingent
PO Box 10306 Department CH                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Palatine                               IL       60055-0306      Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       8     2    3   9               Yes


  3.28     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Food and Ag Lab, LLC                                                Contingent
300 Brushy Creek Road #205                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Cedar Park                             TX       78613           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 8
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.29     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Gulf Coast Paper Co. Inc.                                           Contingent
PO Box 4227                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Victoria                               TX       77903           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       8     6    4   0               Yes


  3.30     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Hardcore Carnivore                                                  Contingent
6800 Westgate Blvd. #132 #113                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78745           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.31     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
JAG Permits, LLC                                                    Contingent
1920 E. Riverside Dr. #A120 $298                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78741           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.32     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $60,919.94
                                                                Check all that apply.
JD Construction & Consulting                                        Contingent
6991 Fitzhugh Road                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dripping Springs                       TX       78620           Leasehold improvements

Date or dates debt was incurred      1/2023                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 9
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.33     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,273.60
                                                                Check all that apply.
JD Service Co. LLC                                                  Contingent
9540 N. Hwy. 183                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Florence                               TX       76527           Repairs

Date or dates debt was incurred      5/2022                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     2    1   9               Yes


  3.34     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
JRS Electric, LLC                                                   Contingent
7818 Paces Mill Lane                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78744           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.35     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Meat Church                                                         Contingent
205 S. College St.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Waxahachie                             TX       75165           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.36     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
NUCO2 LLC                                                           Contingent
2800 SE Market Place                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Stuart                                 FL       34997           Tank lease

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       7     5    8   3               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 10
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.37     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,775.53
                                                                Check all that apply.
Pak Quality Foods LLC                                               Contingent
404 Pulliam Street                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Angelo                             TX       76903           Trade creditor

Date or dates debt was incurred      5/2023                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     1    9   5               Yes


  3.38     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Paq-Source                                                          Contingent
PO Box 1916                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Leander                                TX       78646-1916      Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     2    2   1               Yes


  3.39     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Patty - O - Matic, Inc.                                             Contingent
PO Box 404 Route 547                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Farmingdale                            NJ       07727           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.40     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Pedernales Electric Co-op                                           Contingent
PO Box 1                                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Johnson City                           TX       78636-0001      Utility expenses

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 11
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.41     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
PYE Barker Fire & Safety                                            Contingent
2500 Northwinds Pkwy. #200                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Alpharetta                             GA       30009-2252      Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     1    6   8               Yes


  3.42     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,330.53
                                                                Check all that apply.
Quality Casing Company Inc.                                         Contingent
PO Box 695                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Burlington                             KY       41005           Trade creditor

Date or dates debt was incurred      5/2023                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     6    3   3               Yes


  3.43     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Reiser                                                              Contingent
725 Dedham Street                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Canton                                 MA       02021           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.44     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Rob Roy Parnell Inc.                                                Contingent
251 McKellar Road                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dripping Springs                       TX       78620           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 12
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.45     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Sentry Insurance                                                    Contingent
1800 North Point Drive                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Stevens Point                          WI       54481           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     5    3   1               Yes


  3.46     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Shumway Van                                                         Contingent
8 E 300 S #500                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Salt Lake City                         UT       84111           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.47     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
South Waste Disposal, LLC                                           Contingent
16350 Park Ten Place #215                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77084           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     7    0   8               Yes


  3.48     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
SouthWaste Disposal, LLC                                            Contingent
PO Box 53988                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Lafayette                              LA       70505-3988      Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     7    0   8               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 13
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.49     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Southwest Saw Corporation                                           Contingent
3015 Broadway                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77017           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       2     0    3   0               Yes


  3.50     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Spices Southern Style LLC                                           Contingent
PO Box 20                                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Manor                                  TX       78653           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       G     E    C   O               Yes


  3.51     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $5,934.91
                                                                Check all that apply.
Texas Custom SIGNS                                                  Contingent
2007 Windy Terrace, Ste A                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Cedar Park                             TX       78613           Signs

Date or dates debt was incurred      12/2022                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       4     0    5   0               Yes


  3.52     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $100.00
                                                                Check all that apply.
Texas Department of State Health                                    Contingent
PO Box 149347                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Ausitn                                 TX       78714-9347      Penalty

Date or dates debt was incurred      2023                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     0    3   2               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 14
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.53     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Texas Gas Service                                                   Contingent
PO Box 31427                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
El Paso                                TX       79931-0427      Utility expenses

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     5    2   7               Yes


  3.54     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $611.44
                                                                Check all that apply.
Texas Suits, LLC                                                    Contingent
13750 San Pedron #810                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Antonio                            TX       78232           Legal fees

Date or dates debt was incurred      11/22-1/23                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     0    9   5               Yes


  3.55     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Unifirst Holdings, Inc.                                             Contingent
6000 Bolm Road                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78721           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.56     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
UPS Domestic                                                        Contingent
PO Box 577                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Carol Stream                           IL       60232           Shipping

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       3     3    5   3               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 15
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Debtor       Big's Sausage LLC                                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.57     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
US Foods                                                            Contingent
PO Box 841587                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75284-1587      Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     7    2   3               Yes


  3.58     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $717,000.00
                                                                Check all that apply.
VS, LP                                                              Contingent
2425 Mountain View Drive                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Carlsbad                               CA       92008           Lease agreement

Date or dates debt was incurred      5/2022                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.59     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
West Gulf Containers                                                Contingent
15920 East Freeway                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Channelview                            TX       77530           Trade creditor

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 16
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Debtor        Big's Sausage LLC                                                            Case number (if known)

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      A.R.M. Solutions, Inc.                                                Line       3.1
         PO Box 2929                                                                  Not listed. Explain:




         Camarillo                     CA      93011-2929


4.2      Gossett, Harrison, Millican, & Stipanovi                              Line      3.37
         PO Drawer 911                                                                Not listed. Explain:




         San Angelo                    TX      76902


4.3      VS, LP                                                                Line      3.58
         6805 RR 2338                                                                 Not listed. Explain:




         Georgetown                    TX      78633




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page 17
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Debtor       Big's Sausage LLC                                                 Case number (if known)

 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.

                                                                                                     Total of claim amounts

5a. Total claims from Part 1                                                               5a.                   $1,854.58

5b. Total claims from Part 2                                                               5b.   +            $957,702.08


5c. Total of Parts 1 and 2                                                                 5c.                $959,556.66
    Lines 5a + 5b = 5c.




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                   page 18
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 Fill in this information to identify the case:
 Debtor name         Big's Sausage LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                  Chapter       7                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Commerical lease                                VS, LP
          or lease is for and the       Contract to be REJECTED                         6805 RR 2338
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Georgetown                          TX            78633
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify the case:
 Debtor name         Big's Sausage LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Scott Fiebig                    267 Travertine Trail                                   U.S. Small Business                   D
                                       Number      Street                                     Admin.                                E/F
                                       Buda, TX 78610                                                                               G


                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
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 Fill in this information to identify the case:


 Debtor Name Big's Sausage LLC

 United States Bankruptcy Court for the:                    WESTERN DISTRICT OF TEXAS

 Case number (if known):                                                                                                                                                             Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15



 Part 1:            Summary of Assets

1.    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

      1a. Real property:
                                                                                                                                                                                                  $0.00
          Copy line 88 from Schedule A/B........................................................................................................................................................................

      1b. Total personal property:
                                                                                                                                                                                    $510,038.64
          Copy line 91A from Schedule A/B........................................................................................................................................................................

      1c. Total of all property
                                                                                                                                                                                      $510,038.64
          Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:            Summary of Liabilities

2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                     $1,085,382.00
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................

3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

      3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                          $1,854.58
          Copy the total claims from Part 1 from line 5a of Schedule E/F.........................................................................................................................................................

      3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                               +            $957,702.08
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..............................................................................................................................


4.    Total liabilities
      Lines 2 + 3a + 3b........................................................................................................................................................................ $2,044,938.66




Official Form 206Sum                                          Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case and this filing:
 Debtor Name         Big's Sausage LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 07/21/2023                       X /s/ Scott Alan Fiebig
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Scott Alan Fiebig
                                                              Printed name
                                                              Manager/Owner
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name         Big's Sausage LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                                 Check if this is an
 (if known)
                                                                                                                 amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                   04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:         Income
1.    Gross revenue from business

          None

Identify the beginning and ending dates of the debtor's fiscal year,            Sources of revenue                             Gross revenue
which may be a calendar year                                                    Check all that apply.                          (before deductions
                                                                                                                               and exclusions


From the beginning of the                                                           Operating a business
                                  From    01/01/2023      to   Filing date
fiscal year to filing date:                                                         Other                                              $204,310.26
                                         MM / DD / YYYY

                                                                                    Operating a business
For prior year:                   From    01/01/2022      to    12/31/2022
                                         MM / DD / YYYY        MM / DD / YYYY       Other Grant income                                 $821,913.00

                                                                                    Operating a business
For the year before that:         From    01/01/2021      to    12/31/2021
                                         MM / DD / YYYY        MM / DD / YYYY       Other Grant/ins./ERC                               $834,053.00

2.    Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
      lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None

 Part 2:         List Certain Transfers Made Before Filing for Bankruptcy
3.    Certain payments or transfers to creditors within 90 days before filing this case

      List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
      before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
      adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None

       Creditor's name and address                             Dates            Total amount or value      Reasons for payment or transfer
                                                                                                           Check all that apply
3.1. IRS                                                       4/11/23-              $12,370.71               Secured debt
       Creditor's name                                         6/26/23
       EFTPS                                                                                                  Unsecured loan repayments
       Street                                                                                                 Suppliers or vendors
                                                                                                              Services
                                                                                                              Other Payroll taxes
       City                            State   ZIP Code




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
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Debtor          Big's Sausage LLC                                                             Case number (if known)
                Name

       Creditor's name and address                                  Dates            Total amount or value        Reasons for payment or transfer
                                                                                                                  Check all that apply
3.2. PAK Quality Foods                                              4/28-5/11              $12,491.12                 Secured debt
       Creditor's name                                              2023
       404 Pulliam Street                                                                                             Unsecured loan repayments
       Street                                                                                                         Suppliers or vendors
                                                                                                                      Services
       San Angelo                        TX       76903                                                               Other
       City                              State    ZIP Code

4.    Payments or other transfers of property made within 1 year before filing this case that benefited any insider

      List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
      guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
      $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
      adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
      and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
      any managing agent of the debtor. 11 U.S.C. § 101(31).


          None

       Insider's name and address                                   Dates            Total amount or value        Reasons for payment or transfer
4.1. Robert Fiebig                                                  12/22-3/23              $1,997.65             Reimbursement for office
       Insider's name                                                                                             supplies
       PO Box 1902
       Street


       Gonzales                          TX       78629
       City                              State    ZIP Code

       Relationship to debtor
       Father of Owner

5.    Repossessions, foreclosures, and returns

      List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
      creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
      line 6.

          None

6.    Setoffs

      List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
      an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
      the debtor owed a debt.

          None

 Part 3:         Legal Actions or Assignments
7.    Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
      List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
      was involved in any capacity--within 1 year before filing this case.

          None




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
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Debtor          Big's Sausage LLC                                                           Case number (if known)
                Name

8.    Assignments and receivership

      List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
      hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None

 Part 4:          Certain Gifts and Charitable Contributions
9.    List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
      aggregate value of the gifts to that recipient is less than $1,000

          None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?             If not money, describe any property              Dates               Total amount
                                                                transferred                                                          or value
 11.1. Hickson Law P.C.                                                                                          4/25/2023               $1,538.00

         Address

         4833 Spicewood Springs Rd #200
         Street


         Austin                       TX       78759
         City                         State    ZIP Code

         Email or website address
         lizhickson@hicksonlawpc.com

         Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None




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Debtor          Big's Sausage LLC                                                          Case number (if known)
                Name

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

          None

 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply

         Address                                                                                    Dates of occupancy

 14.1. 270 Old San Antonio Road                                                                     From         4/22              To       4/23
         Street


         Buda                                                  TX         78610
         City                                                  State      ZIP Code

         Address                                                                                    Dates of occupancy

 14.2. 2915 E. 12th Street                                                                          From       9/2017              To     11/2022
         Street


         Austin                                                TX         78702
         City                                                  State      ZIP Code


 Part 8:          Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
          Yes. Fill in the information below.

 Part 9:          Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

          No.
          Yes. State the nature of the information collected and retained

                  Does the debtor have a privacy policy about that information?
                     No.
                     Yes.




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Debtor          Big's Sausage LLC                                                        Case number (if known)
                Name

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                   No. Go to Part 10.
                   Yes. Fill in below:

 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

          None

         Financial institution name and address          Last 4 digits of               Type of account       Date account        Last balance
                                                         account number                                       was closed,         before closing
                                                                                                              sold, moved,        or transfer
                                                                                                              or transferred
 18.1. Austin Telco FCU
         Name
                                                         XXXX- 9        7    9    4         Checking               6/8/23              $100.95
         11149 Research Blvd. #300                                                          Savings
         Street
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other
         Austin                  TX      78759
         City                    State   ZIP Code

         Financial institution name and address          Last 4 digits of               Type of account       Date account        Last balance
                                                         account number                                       was closed,         before closing
                                                                                                              sold, moved,        or transfer
                                                                                                              or transferred
 18.2. Austin Telco FCU
         Name
                                                         XXXX- 9        7    9    4         Checking               6/8/23              $173.30
         11149 Research Blvd. #300                                                          Savings
         Street
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other
         Austin                  TX      78759
         City                    State   ZIP Code

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

          None




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 5
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Debtor       Big's Sausage LLC                                                              Case number (if known)
             Name

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None

 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None




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Debtor        Big's Sausage LLC                                                              Case number (if known)
              Name

26. Books, records, and financial statements

    26a.     List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                 None

                Name and address                                                                     Dates of service

      26a.1. Robert Fiebig                                                                           From       9/2017         To     present
                Name
                PO Box 1902
                Street


                Gonzales                                       TX          78629
                City                                           State       ZIP Code

                Name and address                                                                     Dates of service

      26a.2. Erickson Demel & Associates, PLLC                                                       From       9/2017         To     present
                Name
                7800 N. Mopac #105
                Street


                Austin                                         TX          78759
                City                                           State       ZIP Code

    26b.     List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
             statement within 2 years before filing this case.

                 None

                Name and address                                                                     Dates of service

      26b.1. Robert Fiebig                                                                           From       9/2017         To     present
                Name
                PO Box 1902
                Street


                Gonzales                                       TX          78629
                City                                           State       ZIP Code

    26c.     List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                 None

                Name and address                                                                  If any books of account and records are
                                                                                                  unavailable, explain why
         26c.1. Robert Fiebig
                Name
                PO Box 1902
                Street


                Gonzales                                       TX          78629
                City                                           State       ZIP Code

    26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
             financial statement within 2 years before filing this case.

                 None

                Name and address

      26d.1. Southstar Bank
                Name
                PO Box 1932
                Street


                Gonzales                                       TX          78629
                City                                           State       ZIP Code




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Debtor       Big's Sausage LLC                                                     Case number (if known)
             Name

              Name and address

      26d.2. VS, LP
              Name
              2425 Mountain View Drive
              Street


              Carlsbad                                  CA         92008
              City                                      State      ZIP Code

              Name and address

      26d.3. Prosperity Bank
              Name
              900 Congress Avenue
              Street


              Austin                                    TX         78701
              City                                      State      ZIP Code

              Name and address

      26d.4. Waterloo Lending
              Name
              5506 Hwy 290 West #300
              Street


              Austin                                    TX         78735
              City                                      State      ZIP Code

              Name and address

      26d.5. Providence Bank
              Name
              3070 Saturn Street #100
              Street


              Brea                                      CA         92821
              City                                      State      ZIP Code

              Name and address

      26d.6. JB Goodwin Realtors
              Name
              1613 S. Capital of Texas Hwy #101
              Street


              Austin                                    TX         78746
              City                                      State      ZIP Code

              Name and address

      26d.7. UltraSource
              Name
              1414 West 29th Street
              Street


              Kansas City                               MO         64108
              City                                      State      ZIP Code




Official Form 207                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy   page 8
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Debtor          Big's Sausage LLC                                                        Case number (if known)
                Name

                  Name and address

       26d.8. Sentry Insurance
                  Name
                  PO Box 8019
                  Street


                  Stevens Point                             WI           54481
                  City                                      State        ZIP Code

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

          No.
          Yes. Give the details about the two most recent inventories.

         Name of the person who supervised the taking of the inventory                           Date of          The dollar amount and basis
                                                                                                 inventory        (cost, market, or other basis)
                                                                                                                  of each inventory

         Scott Fiebig                                                                             12/31/2022            $40,438.00 / Cost

         Name and address of the person who has possession of inventory records

 27.1. Scott Fiebig
         Name
         267 Travertine Trail
         Street


         Buda                                               TX           78610
         City                                               State        ZIP Code

         Name of the person who supervised the taking of the inventory                           Date of          The dollar amount and basis
                                                                                                 inventory        (cost, market, or other basis)
                                                                                                                  of each inventory

         Scott Fiebig                                                                             12/31/2021            $27,608.00 / Cost

         Name and address of the person who has possession of inventory records

 27.2. Scott Fiebig
         Name
         267 Travertine Trail
         Street


         Buda                                               TX           78610
         City                                               State        ZIP Code

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                    Position and nature of any interest      % of interest, if any

Scott Fiebig                             267 Travertine Trail                       Sole Member / Member                            100%
                                         Buda, TX 78610
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          No
          Yes. Identify below.

Name                                     Address                                    Position and nature of      Period during which position
                                                                                    any interest                or interest was held




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 9
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Debtor          Big's Sausage LLC                                                         Case number (if known)
                Name

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

         Name and address of recipient                Amount of money or description           Dates            Reason for
                                                      and value of property                                     providing the value


 30.1. Scott Fiebig                                   Draws/payments                           9/30/22 -        Services
         Name                                         $9,479.87                                12/31/22
         267 Travertine Trail
         Street


         Buda                    TX      78610
         City                    State   ZIP Code

         Relationship to debtor
         Owner

         Name and address of recipient                Amount of money or description           Dates            Reason for
                                                      and value of property                                     providing the value


 30.2. Scott Fiebig                                   Payroll                                  7/2022-          payroll
         Name                                         $65,423.00                               5/28/23
         267 Travertine Trail
         Street


         Buda                    TX      78610
         City                    State   ZIP Code

         Relationship to debtor
         Owner

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.




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Debtor        Big's Sausage LLC                                                         Case number (if known)
              Name


 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 07/21/2023
            MM / DD / YYYY



X /s/ Scott Alan Fiebig                                                           Printed name Scott Alan Fiebig
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Manager/Owner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 11
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                   AUSTIN DIVISION
In re Big's Sausage LLC                                                                                                             Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $1,200.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $1,200.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
    Defending Motions to Lift Stay ($250.00)
   - Responding to Motions to Dismiss ($275.00)
   - Adding creditors after the initial filing ($75.00)
   - Motions to Avoid non-purchase money liens or judicial liens on homestead ($250.00)
   - Motions to Sell Property ($400.00), with a motion to expedite hearing ($200.00 more)
   - Notice of reset creditors meeting ($150.00)
   - Post-Confirmation Plan Modifications ($450.00)
   - Application to Incur Debt ($200.00)
   - Application for Tax Refund ($450.00)
   - Motion for a 30 or 60 day moratorium ($200.00)
   - Adversary Proceeding ($275.00 hourly)
   - Motions to vacate or amend an order ($250.00)
   - Motions to Reinstate Dismissed Case ($400.00), with a motion to expedite hearing ($200.00 more)
   - Motion to Pay Off Early ($400.00)
   - Voluntary Motion to Dismiss ($250.00)
   -Motion to Lift Stay (Divorce) ($300.00)
   -Returned check ($30.00)
   -Defending Default Letters ($175.00) and hour
   -Request for title ($125.00)
   -Additional copies of bankruptcy petition $25.00
   -Request for stored file ($75.00)
   -Copy of discharge letter ($10.00)
   -Motion for Loan Modification Approval ($450.00) ,with a motion to expedite hearing ($250.00)
   Litigation of discharge or exemption issues - $275.00 hourly rate with periodic billing.

  The contract for bankruptcy services does not include filing or defending an adversary compliant nor an
  agreement to initiate or defend any litigation on the behalf of the debtor(s) in state court nor in bankrupcty court. If
  a complaint is filed we will negotiate our representation and our fee at that time.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                   07/21/2023                        /s/ Elizabeth Hickson
                      Date                           Elizabeth Hickson                          Bar No. 09586000
                                                     Hickson Law P.C.
                                                     4833 Spicewood Springs Rd
                                                     Austin, TX 78759
                                                     Phone: (512) 346-8597 / Fax: (512) 346-2047




  /s/ Scott Alan Fiebig
  Scott Alan Fiebig
  Manager/Owner
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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION
  IN RE:   Big's Sausage LLC                                                        CASE NO

                                                                                   CHAPTER    7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 7/21/2023                                          Signature   /s/ Scott Alan Fiebig
                                                                    Scott Alan Fiebig
                                                                    Manager/Owner




Date                                                    Signature
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                          A.R.M. Solutions, Inc.
                          PO Box 2929
                          Camarillo, CA 93011-2929



                          ABC Home & Commercial
                          9475 E. Highway 290
                          Austin, TX 78724-2303



                          ACE Mart Restaurant Supply
                          PO Box 974297
                          Dallas, TX 75397-4297



                          Advannova, Inc
                          4500 Main Avenue
                          Groves, TX 77619-4712



                          Alamo Food Equipment
                          6600 Guada Coma Drive
                          Schertz, TX 78154



                          Alsco
                          449 Vista Ridge Drive
                          Kyle, TX 78640



                          Ascension Architecture
                          PO Box 340781
                          Austin, TX 78734



                          AT & T
                          PO Box 5014
                          Carol Stream, IL 60197-5014



                          ATX Restaurant Supply
                          40113 Industrial Park Circle
                          Georgetwon, TX 78626
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                          Austin Budget Signs
                          3904 Warehouse Row
                          Austin, TX 78704



                          Austin Industrial Refrigeration
                          13200 Pond Springs Road #D-30
                          Austin, TX 78729



                          Big Cock Ranch
                          10921 E. Crystal Falls Parkway
                          #1703
                          Leander, TX 78641


                          Bruce Wilson
                          7905 Pitter Pat Lane
                          Austin, TX 78736



                          Buda South 35 Warehouse LLC
                          317 Grace Lane #24D
                          Austin, TX 78746



                          Bunzl
                          12240 Collections Center Drive
                          Chicago, IL 60693



                          Centerpoint Energy
                          PO Box 4981
                          Houston, TX 77210-4981



                          Central Texas Refuse
                          PO Box 18685
                          Austin, TX 78760-8685



                          Charter Communications
                          PO Box 60074
                          City of Industry, CA 91716-0074
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                          Chase
                          PO Box 6294
                          Carol Stream, IL 60197-6294



                          City of Buda Utility
                          405 E. Loop Street Bldg. 100
                          Buda, TX 78610



                          CLIFCO Spice Sales Inc.
                          PO Box 1046
                          Burleson, TX 76097



                          Colorado Boxed Beef Co.
                          PO Box 95395
                          Grapevine, TX 76099-9734



                          CondorWeb
                          6651 Ruxton Lane
                          Austin, TX 78749



                          D Commerical Refrigeration, Inc.
                          PO Box 7124
                          Fort Worth, TX 76111



                          Electronic Payments Inc.
                          1161 Scott Avenue
                          Calverton, NY 11933



                          Express Meat Service
                          PO Box 144103
                          Austin, TX 78714



                          Extreme Texas Air
                          PO Box 2142
                          Kyle, TX 78640
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                          Federal Express
                          PO Box 10306 Department CH
                          Palatine, IL 60055-0306



                          Food and Ag Lab, LLC
                          300 Brushy Creek Road #205
                          Cedar Park, TX 78613



                          Gossett, Harrison, Millican, & Stipanovi
                          PO Drawer 911
                          San Angelo, TX 76902



                          Gulf Coast Paper Co. Inc.
                          PO Box 4227
                          Victoria, TX 77903



                          Hardcore Carnivore
                          6800 Westgate Blvd. #132 #113
                          Austin, TX 78745



                          JAG Permits, LLC
                          1920 E. Riverside Dr. #A120 $298
                          Austin, TX 78741



                          JD Construction & Consulting
                          6991 Fitzhugh Road
                          Dripping Springs, TX 78620



                          JD Service Co. LLC
                          9540 N. Hwy. 183
                          Florence, TX 76527



                          JRS Electric, LLC
                          7818 Paces Mill Lane
                          Austin, TX 78744
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                          Meat Church
                          205 S. College St.
                          Waxahachie, TX 75165



                          NUCO2 LLC
                          2800 SE Market Place
                          Stuart, FL 34997



                          Pak Quality Foods LLC
                          404 Pulliam Street
                          San Angelo, TX 76903



                          Paq-Source
                          PO Box 1916
                          Leander, TX 78646-1916



                          Patty - O - Matic, Inc.
                          PO Box 404 Route 547
                          Farmingdale, NJ 07727



                          Pedernales Electric Co-op
                          PO Box 1
                          Johnson City, TX 78636-0001



                          PYE Barker Fire & Safety
                          2500 Northwinds Pkwy. #200
                          Alpharetta, GA 30009-2252



                          Quality Casing Company Inc.
                          PO Box 695
                          Burlington, KY 41005



                          Reiser
                          725 Dedham Street
                          Canton, MA 02021
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                          Rob Roy Parnell Inc.
                          251 McKellar Road
                          Dripping Springs, TX 78620



                          Robert and Jan Fiebig
                          PO Box 1902
                          Gonzales, TX 78629



                          Sentry Insurance
                          1800 North Point Drive
                          Stevens Point, WI 54481



                          Shumway Van
                          8 E 300 S #500
                          Salt Lake City, UT 84111



                          South Waste Disposal, LLC
                          16350 Park Ten Place #215
                          Houston, TX 77084



                          SouthWaste Disposal, LLC
                          PO Box 53988
                          Lafayette, LA 70505-3988



                          Southwest Saw Corporation
                          3015 Broadway
                          Houston, TX 77017



                          Spices Southern Style LLC
                          PO Box 20
                          Manor, TX 78653



                          State Comptrollers Office
                          PO Box 149355
                          Austin, TX 78714-9355
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                          Texas Custom SIGNS
                          2007 Windy Terrace, Ste A
                          Cedar Park, TX 78613



                          Texas Department of State Health
                          PO Box 149347
                          Ausitn, TX 78714-9347



                          Texas Gas Service
                          PO Box 31427
                          El Paso, TX 79931-0427



                          Texas Suits, LLC
                          13750 San Pedron #810
                          San Antonio, TX 78232



                          U. S. Attorney General
                          Main Justice Bldg
                          10th & Constitution Avenue
                          Washington, DC 20530


                          U. S. Attorney/Civil Process Clerk
                          601 N. W. Loop 410, Suite 600
                          San Antonio, TX 78216-5597



                          U.S. Small Business Admin.
                          4109 3rd St. SW
                          Washington D.C.



                          UltraSource LLC
                          1414 West 29th Street
                          Kansas City, MO 64108-3604



                          Unifirst Holdings, Inc.
                          6000 Bolm Road
                          Austin, TX 78721
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                          UPS Domestic
                          PO Box 577
                          Carol Stream, IL 60232



                          US Foods
                          PO Box 841587
                          Dallas, TX 75284-1587



                          VS, LP
                          2425 Mountain View Drive
                          Carlsbad, CA 92008



                          VS, LP
                          6805 RR 2338
                          Georgetown, TX 78633



                          West Gulf Containers
                          15920 East Freeway
                          Channelview, TX 77530
